Exhibit 1

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QANON // DRAIN THE SWAMP

 

MARTINSVILLE CIRCUIT COURT — CRIMINAL CASE NO. CR19000009-00

Exhibit in attachment to “SECOND NOTICE OF FRAUD UPON THE COURT”

Case 1:13-cr-00435-TDS Document 267-2 Filed 11/10/20 Pageiof5
VIRGINIA: IN THE CIRCUIT COURT OF THE CITY OF MARTINSVILLE

)
Commonwealth of Virginia, )
)
Plaintiff, ) Criminal Action No. CR19000009-00
)
Vv. )
) DECLARATION OF BRIAN DAVID
Brian David Hill, )  HILLIN SUPPORT OF SECOND
) NOTICE OF FRAUD UPON THE
Defendant, ) COURT

DECLARATION OF BRIAN DAVID HILL IN SUPPORT OF SECOND
NOTICE OF FRAUD UPON THE COURT

COMES NOW Brian David Hill, and in pursuant to Virginia Code § 8.01-4.3, I
affirm the following facts under penalty of perjury with my statement of facts
before this Court:

I am Brian David Hill, the criminal defendant in this criminal case CR19000009-
, Writ of Habeas Corpus filer under case no. CL,19000331-00, and Writ of
Coram Nobis/Vobis filer under case no. CL20000089-00. I hereby make my
following statement of facts regarding the various Exhibits filed in my pleading
own as “SECOND NOTICE OF FRAUD UPON THE COURT”. I am
attempting to demonstrate different issues to this Court as to why I personally

 

 
 

believe and am asserting that the wrongful conviction of myself, Brian David Hill,
in the above captioned case is a fraud upon the court that was wrongfully

osecuted by Glen Andrew Hall, Esquire, and should not stand as judgment as the
fi

icts come out by my various pro se filings.

4

Case 1:13-cr-00435-TDS Document 267-2 Filed 11/10/20 Page 2 of5

 
I hereby certify that EXHIBIT 2 is a true and correct copy of six pages of excerpt
of the 81-page Transcript from U.S. District Court for the Middle District of North
Carolina, with the testimony statements of Martinsville Police Department
Sergeant Robert Jones, the same officer who arrested and charged Brian with
indecent exposure on September 21, 2018, and is relevant in this criminal case.
Transcribed by Briana L. Bell, RPR, Official Court Reporter who has transcribed
this testimony at a federal court hearing. This Court can ask for the entire
Transcript to authenticate the record if necessary. Her email address for this Court
or the Commonwealth Attorney to contact to confirm authenticity is at:
brinesbit@gmail.com. Her name was Briana Nesbit but later changed to Briana
Bell. Direct contact number is 336-734-2514. Transcript dated as November 4,
2019. Total of 6 pages. I excerpt on Page 1 is of Page 1, Page 2 is of Page 2. Page
3 of this Exhibit is Page 34 of the record. Page 4 of this Exhibit is Page 35 of the
record. Page 5 of this Exhibit is Page 36 of the record. Page 6 of this Exhibit is
Page 81 of the record, the final page of the Transcript to prove that the pages did
come from a certified transcript, meaning that the Court Reporter had certified that
the Transcript is a “a true and correct transcript of the proceedings in the above-

entitled matter.” That should affirm proof.

I hereby certify that EXHIBIT 3 is a true and correct copy of a two-page print-out
of an email that Roberta Hill had printed for Brian David Hill to use in this
criminal case as evidence. Entitled “Re: Brian D. Hill asked me to send this email
to you about his appealed case”. Emailed to Brian’s court appointed lawyer Scott
Albrecht at the time through his Indigent Defense Commission email:
salbrecht@mar.IDC. Virginia.gov. Total of 2 pages.

[ hereby certify that EXHIBIT 4 is a true and correct copy of a five-page print-out
of an email conversation that Roberta Hill had printed for Brian David Hill to use

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Case 1:13-cr-00435-TDS Document 267-2 Filed 11/10/20 Page 3of5
in this criminal case as evidence. Entitled “Fw: Brian D. Hill request”, “Re: Brian
D. Hill request”, “Re: Brian D. Hill request”, and “Brian D. Hill request”. Shows
in Page 3 an email to Brian’s court appointed lawyer Scott Albrecht at the time
through his Indigent Defense Commission email:

salbrecht@mar.IDC. Virginia.gov. Total of 5 pages.

I hereby certify that EXHIBIT 5 is a true and correct copy of a 1-page FAX letter
to Attorney Scott Albrecht. As well as a “Transmission Verification Report”. Says
it had faxed two pages and it likely was a cover page but was omitted from this
Exhibit. It was transmitted to the Office of the Public Defender fax number on May
15, 2019, 6:09PM. Total of 2 pages.

I hereby certify that EXHIBIT 6 is a true and correct copy of a seven-page
photocopy of what appears to be a letter that Brian’s grandparents Kenneth
Forinash and Stella Forinash had mailed to Martinsville Police Chief G. E.
Cassady. It appears that it was likely signed for by a different officer. Pages 1 and
2 show a typed of version of the written letter that Brian had mailed to the Police
Chief asking for the body-camera footage about the incident on September 21,
2018, and give it to his lawyer as part of the discovery process. Page 3 shows what
appears to be a scan of the envelope. Page 4 shows a photocopy of the original
handwritten letter with something else written on it saying “For Jason McMurray”.
That was probably a goof and the words “For Jason McMurray” were probably not
in the original letter. It was photocopied using the photocopying machine at the
Federal Correctional Institution I at Butner, North Carolina. Pages 5 through 7 are
of both sides of the “Return Receipt” mailed by Brian’s grandparents and the
certified mail receipt as well as the U.S. Postal Service receipt. Total of 7 pages.

I declare under penalty of perjury that the foregoing is true and correct.

3

Case 1:13-cr-00435-TDS Document 267-2 Filed 11/10/20 Page 4of5
Executed on November 7, 2020.

Respectfully submitted,

     

gn Signed
Brian D. Hill (Pro Se)

310 Forest Street, Apartment 2
Martinsville, Virginia 24112
Phone #: (276) 790-3505

USWG.O.

Former U.S.W.G.O. Alternative News reporter

I stand with QANON/Donald-Trump — Drain the Swamp

I ask Qanon and Donald John Trump for Assistance (S.O.S.)
Make America Great Again

JusticeForUS WGO.wordpress.com/Pardon
JusticeForUSWGO.wordpress.com

Amazon: The Frame Up of Journalist Brian D. Hill

 

 

4

Case 1:13-cr-00435-TDS Document 267-2 Filed 11/10/20 Page5of5
